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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS “*"7¥ oy
DALLAS DIVISION A
UNITED STATES OF AMERICA
v. NO. 3:17-CR-17

ANGELA DANELLE BURKHAM (9)

PLEA AGREEMENT

Angela Danielle Burkham, the defendant, William R. Biggs , the defendant’s

attorney, and the United States of America (the government), agree as follows:

lL. Rights of the Defendant: Burkham understands that she has the following
rights:
a. to plead not guilty;
b. to have a trial by jury;
c. to have her guilt proven beyond a reasonable doubt;
d. to confront and cross-examine witnesses and to call witnesses in her
defense; and
€. against compelled self-incrimination.
2. Waiver of Rights and Plea of Guilty; Burkham waives these rights and

pleads guilty to the offenses alleged in Count 12 of the Superseding Indictment charging
a violation of 21 U.S.C. § 841(a)(1) and (b)(1)(C), that is Possession of a Controlled
Substance (methamphetamine, a Schedule IT controlled substance) with Intent to

Distribute that Controlled Substance. Burkham understands the nature and elements of

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the crime to which she is pleading guilty, and agrees that the factual resume she has
signed is true and will be submitted as evidence.
3, Sentence: The maximum penalties the Court can impose for Count 12 of
the Superseding Indictment include:
a. imprisonment for a period of not more than twenty years;

b. a fine not to exceed $1,000,000.00, or twice any pecuniary gain to
the defendant or loss to the victim(s);

c. a term of supervised release of not less than three years, which is
mandatory under the law and will follow any term of imprisonment.
If Burkham violates the conditions of supervised release, she could
be imprisoned for the entire term of supervised release;

d. a mandatory special assessment of $100;

e. restitution to victims or to the community, which Burkham agrees
will include restitution arising from all relevant conduct, and not
limited to that arising from the offense of conviction alone; and

f. costs of incarceration and supervision.

4. Court’s Sentencing Discretion and Role of the Guidelines: Burkham

understands that the sentence in this case will be imposed by the Court after consideration
of the United States Sentencing Guidelines. The guidelines are not binding on the Court,
but are advisory only. Burkham has reviewed the guidelines with her attorney, but
understands no one can predict with certainty the outcome of the Court’s consideration of
the guidelines in this case. Burkham understands that she will not be allowed to
withdraw her plea if the applicable advisory guideline range is higher than expected, or if
the Court departs from the applicable advisory guideline range. Burkham will not be

allowed to withdraw her plea if her sentence is higher than expected. Burkham fully

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understands that the actual sentence imposed (so long as it is within the statutory
maximum) is solely left to the discretion of the Court.

5, Mandatory special assessment: Burkham agrees to pay to the U.S. District

Clerk the amount of $100.00, in satisfaction of the mandatory special assessment in this
case.

6. Defendant’s Agreement: Burkham shall give complete and truthful

information and/or testimony concerning her participation in the offense of conviction.
Upon demand, Burkham shall submit a personal financial statement under oath and
submit to interviews by the Government and the U.S. Probation Office regarding her
capacity to satisfy any fines or restitution. Burkham expressly authorizes the United
States Attorney’s Office to immediately obtain a credit report on her in order to evaluate
her ability to satisfy any financial obligation imposed by the Court. Burkham fully
understands that any financial obligation imposed by the court, including a restitution
order and/or the implementation of a fine, is due and payable immediately. In the event
the Court imposes a schedule for payment of restitution, Burkham agrees that such a
schedule represents a minimum payment obligation and does not preclude the U.S.
Attorney’s Office from pursuing any other means by which to satisfy Burkham’s full and
immediately enforceable financial obligation. Burkham understands that she has a
continuing obligation to pay in full as soon as possible any financial obligation imposed
by the court.

7. Forfeiture: Burkham agrees not to contest, challenge, or appeal in any way

the administrative or judicial (civil or criminal) forfeiture to the United States of any

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property noted as subject to forfeiture in the Superseding Indictment and in any bills of
particulars, or seized or restrained by law enforcement officers during the investigation(s)
related to this criminal cause. Burkham consents to entry of any orders or declarations of
forfeiture regarding all such property and waives any applicable statutes of limitation,
and any requirements (including notice of forfeiture) set out in 19 U.S.C. §§ 1607-1609:
18 U.S.C. §§ 981, 983, and 985; the Code of Federal Regulations; and Rules 11, 32.2,
and 43(a) of the Federal Rules of Criminal Procedure. Burkham agrees to provide
truthful information and evidence necessary for the government to forfeit such property.
Burkham agrees to hold the government, its officers, agents, and employees harmless
from any claims whatsoever in connection with the seizure, forfeiture, storage, or
disposal of such property.

8. Government’s Agreement: The Government will not bring any additional

charges against Burkham based upon the conduct underlying and related to Burkham’s
plea of guilty. The Government will dismiss, after sentencing, any remaining charges in
the pending Superseding Indictment. The Government will file a Supplement in this
case, as is routinely done in every case, even though there may or may not be any
additional terms. This agreement is limited to the United States Attorney’s Office for the
Northern District of Texas and does not bind any other federal, state, or local prosecuting
authorities, nor does it prohibit any civil or administrative proceeding against Burkham or
any property.

9. Violation of Agreement: Burkham understands that if she violates any

provision of this agreement, or if her guilty plea is vacated or withdrawn, the Government

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will be free from any obligations of the agreement and free to prosecute Burkham and
others for all offenses of which it has knowledge, In such event, Burkham waives any
objections based upon delay in prosecution. If the plea is vacated or withdrawn for any
reason other than a finding that it was involuntary, Burkham also waives objection to the
use against her of any information or statements she has provided to the government, and
any resulting leads,

10. Voluntary Plea: This plea of guilty is freely and voluntarily made and is

not the result of force or threats, or of promises apart from those set forth in this plea
agreement. There have been no guarantees or promises from anyone as to what sentence
the Court will impose.

Ll, Waiver of Right to Appeal or Otherwise Challenge Sentence: Burkham

waives her rights, conferred by 28 U.S.C. § 1291 and 18 U.S.C. § 3742, to appeal from
her conviction and sentence. she further waives her right to contest her conviction and
sentence in any collateral proceeding, including proceedings under 28 U.S.C. § 2241 and
28 U.S.C. § 2255. Burkham reserves the rights (a) to bring a direct appeal (i) of a
sentence exceeding the statutory maximum punishment, or (ii) an arithmetic error at
sentencing, (b) to challenge the voluntariness of her plea of guilty or this waiver, and (c)
to bring a claim of ineffective assistance of counsel.

12. Representation of Counsel: Burkham has thoroughly reviewed all legal and

factual aspects of this case with her lawyer and is fully satisfied with that lawyer’s legal
representation. Burkham has received from her lawyer explanations satisfactory to her

concerning each paragraph of this plea agreement, each of her rights affected by this

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agreement, and the alternatives available to her other than entering into this agreement.
Because she concedes that she is guilty, and after conferring with her lawyer, Burkham
has concluded that it is in her best interest to enter into this plea agreement and all its
terms, rather than to proceed to trial in this case.

13. Entirety of Agreement: This document is a complete statement of the

parties’ agreement and may not be modified unless the modification is in writing and

signed by all parties.

Agreed to and signed this oh day of [ ( 4 . 2017.

JOHN R. PARKER
UNITED STATES ATTORNEY

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RICK CALVERT
Deputy Criminal Chief Assistant United States Attorney
District of Columbia Bar No. 502391
Virginia Bar No. 73215
1100 Commerce Street, Third Floor
Dallas, Texas 75242-1699
Telephone: (214) 659-8680
Facsimile: (214) 659-8812
Email: philip.meitl@usdoj.gov

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area DANIELLE BURKHAM ~~ WILLIAM R. BIGGS
Defendant Attorney for Defendant

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CERTIFICATE

I have read (or had read to me) this Plea Agreement and have carefully reviewed
every part of it with my attorney. I fully understand it and voluntarily agree to it.

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ANGELA DANIELLE BURKHAM Date |
Defendant

Iam the Defendant’s counsel. I have carefully reviewed every part of this Plea
Agreement with the defendant. To my knowledge and belief, my client’s decision to
enter into this Plea Agreement is an informed and voluntary one.

WILLIAM R. BIGGS Date
Attorney for Defendant

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